Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 1 of 14 PagelD #:1

[lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

UNITED STATES DISTRICT COURT
FOR ‘THE NORTHERN DISTRICT OF ILLINOIS

Saman EH AtmADINE JAD

)
4:21-cv-06771
) Judge Andrea R. Wood

Plaintiff(s) yo Magistrate Judge Jeffrey Cummings

) RANDOM

V., ) — - -
) RECEIVED
)

Defendant(s). ) NEC 20 ang

THOMAS G.BRUTON
COMPLAINT OF EMPLOYMENT DISCRINEBREHOR STRICT COU

1. This is an action for employment discrimination.

2. The plaintiff is Samanen Aymapwesap of the
county of _Cook. in the state of Z/linaiS

3. The defendant is “Loepaurs Univesity , whose
street address is SS E. Jacktom Rlyd. 2a"? Elooy ,
(city) Chico, (county) Geek (state) DL (ZIP)_©O of

(Defendant’s telephone number)  (3/2)- 3@2—-%865"

4. The plaintiff sought employment or was employed by the defendant at (street address)

2214 North Kenmore Avenue (city)_Chicago

(county) Cook. (state) LC (ZIP code) @OG!

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.)

5. The plaintiff [check one box]
(a) OO was denied employment by the defendant.
(b) 0 ~ was hired and is still employed by the defendant.
(c) aw was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) {| , (day) 15 , (year) 2Qo0f4 .

7.1 (Choose paragraph 7.1 or 7.2, do not complete both.)

(a) The defendant is notafederal governmental agency, and the plaintiff
[check one box] has Ohas not filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the
following government agencies:
(i) the United States Equal Employment Opportunity Commission, on or about

(month) 3 (day) {| (year) 26 2|

(ii) O the Illinois Department of Human Rights, on or about

(month) (day) (year)

(b) Ifcharges were filed with an agency indicated above, a copy of the charge is

attached. MW’ Yes,O No, but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

[lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

1

defendant asserting the acts of discrimination indicated in this court complaint.

O Yes (month) (day) (year)

0 No, did not file Complaint of Employment Discrimination
(b) The plaintiff received a Final Agency Decision on (month)
(day) _ (year)
(c) Attached is a copy of the
(i) Complaint of Employment Discrimination,
O Yes UO No, butacopy will be filed within 14 days.
(ii) Final Agency Decision

O Yes OF NO, butacopy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)
(a) O the United States Equal Employment Opportunity Commission has not
issued a Notice of Right to Sue.
(b) eco United States Equal Employment Opportunity Commission has issued
a Notice of Right to Sue, which was received by the plaintiff on

(month) q (day) 23 (year) LOR _acopy of which

Notice is attached to this complaint.

9. The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply]:
(a) O Age (Age Discrimination Employment Act).

(b) O Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

{If you need additional space for ANY section, please attach an additional sheet and reference that section.)

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10.

11.

12.

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

@L] Disability (Americans with Disabilities Act or Rehabilitation Act)
(d) National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(e) Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(f) Religion (Title VII of the Civil Rights Act of 1964)

(2)L_] Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. § 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for

42 U.S.C.§1981 and §1983 by 42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117;
for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]
(a)L_] failed to hire the plaintiff.

(b) terminated the plaintiff's employment.
L_] failed to promote the plaintiff.

aL] failed to reasonably accommodate the plaintiff's religion.

)L_] failed to reasonably accommodate the plaintiff's disabilities.

(f) failed to stop harassment;
EX verti against the plaintiff because the plaintiff did something to assert

hts protected by the laws identified in paragraphs 9 and 10 above;
EX ote (specify): unfair diStributim of workload, differential treatment

exclusion, into leran®, Saiied k L ext page)

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 5 of 14 PagelD #:5

(If you need additional space for ANY section, please attach an additional sheet and reference that section.]

2vion S Page) | iin t

Gry absence due to duneral and bereavement.

13. The facts supporting the plaintiff's claim of discrimination are as follows:

~ Reaching aSWStantshp woS not renewed de8erte hastiag met academic

requirements (4 GPA abo, Sout of ¢, )

bereavement. Absence nS accommodated Br hoo Students whd

were not oF my pace, ethnicity, firth ovnadimal acigia fn the Same
event on November IS, 20/9 who i 1 te itiona | pages)

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff. Moa
15. The plaintiff demands that the case be tried by a jury. YES LJ NO
16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply]

(a)L_] Direct the defendant to hire the plaintiff,

(byL_] Direct the defendant to re-employ the plaintiff.

oL_| Direct the defendant to promote the plaintiff.

@L_] Direct the defendant to reasonably accommodate the plaintiff’s religion.
«LJ Direct the defendant to reasonably accommodate the plaintiffs disabilities.

ol] Direct the defendant to (specify):

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
‘ . @
Tem 13 combngéds: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 6 of 14 PagelD #6 Page |
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her intention of gettin rid of me “ido fo her intolerance of ME, On Febr 2, 2020, one
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and the taching assistants thaf hewobllld pe arcing laté, Pr Fischer responeled in a mild,
reasomable tme Hanking him br etting others Khaw. She wosn'¢ atall frustrated wrth hi

yest and nerther did hiS announcement &- arriving late jeopardize HS #aching ASSistantshin

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at the designated time, the meeting enced Shortly afterwards, T then asked wht time tne vibes
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the Hispanic Professor a8 | ove” . 5

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~ On Pugust if 2020, T sont
> 4 f on ema; ' ,
In Fermin ‘them thot m {4 Pe Ru Gn ver Sty S Haman LeSauree Department

a letter’ 40 be issued) Machin as (Stantshio hod not ben renewed and re

request to the of SJIAG He e280 why it had been terminated. T ont +h PueSted

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Gust 20

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Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 9 of 14 PagelD #:9

[If you need additional space for ANY section, please attach an additional sheet and reference that section. }

(g) Tf available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive
damages, prejudgment interest, post-judgment interest, and costs, including
reasonable attorney fees and expert witness fees.

(h) Grant such other relief as the Court may find appropriate.

- fo

(Praintiff’s signature)

Samanet A wmanweSAD
(Plaintiff's name)

oe Por

(Plaintiff's street address)

(City) Chicago (State) LL. (ZIP) ©COGOF

(Plaintiff's telephone number) @/2) — '7/ f- 792

Date: | Q/ 20/' 202

[If you need additional space for ANY section, please attach an additional sheet and reference that section.)

Rev, 06/27/2016
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Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 10 of 14 PagelD #:10
EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

To: Samaneh Ahmadinejad From: Chicago District Office
2324 W 48th St 230 S. Dearbom
2nd floor rear Suite 1866
Chicago, IL 60609 Chicago, IL 60604
[ On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Jerry Zhang,
440-2021-01393 investigator (312) 872-9694

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU BROUOOU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached fo this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

Julianne Bowman/el 9/23/2021
Enclosures(s) Julianne Bowman, (Date issued)
District Director
cc: DePaul University
C/O Scott Wanrer
Partner

Husch Blackwell LLP
120 S. Riverside Piz, Ste 2200
Chicago, IL 60606
Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 11 of 14 PageID #:11

Enciesure with EEOC
Form 161 (11/2020)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
{f you also plan to sue claiming violations of State law, please be aware that fime limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. if you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limit~d circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE - All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next $0 days.)

YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 12 of 14 PagelD #:12

EECC Form 5 (11/09)

CHARGE OF DISCRIMINATION Charge Presented To: y2r-vlles) Charge

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ FEPA

Statement and other information before completing this form.
[x] Eeoc 440-2021-01393

ILLINOIS DEPARTMENT OF HUMAN RIGHTS and EEOC

State or local Agency, if any

Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth

MS. SAMANEH AHMADINEJAD (312) 714-7921 1982

Street Address City, State and ZIP Cade

2324 W 48TH ST, 2ND FLOOR REAR, CHICAGO, IL 60609

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Believe Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

Name No. Employees, Members Phone No.
DEPAUL UNIVERSITY, LINCOLN PARK 201 - 500 (773) 325-7330
Street Address City, State and ZIP Code

2425 N SHEFFIELD AVE, CHICAGO, IL 60614

Name No. Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [ ] SEX [x] RELIGION [x] NATIONAL ORIGIN 06-14-2020 06-14-2020

[ ] RETALIATION [ ] AGE [ ] DISABILITY [] GENETIC INFORMATION

[| OTHER (Specify) [ ] CONTINUING ACTION

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s}):
I began my Scholarship/Teaching Assistantship in or around September 2019. During my
employment, | was subjected to harassment. On or about June 20, 2020, my
Scholarship/Teaching Assistantship was not renewed. I complained to Respondent but
received no response.

| believe I have been discriminated against because of my national origin, Middle Eastern,
race, Iranian, religion, Muslim, and in retaliation, in violation of Title VII of the Civil Rights
Act of 1964, as amended.

| want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
ifany. | will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in

accordance with their procedures. | swear or affirm that | have read the above charge and that it

| declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Samaneh Ahmadinejad on 03-11- | susscriBED AND SWORN TO BEFORE ME THIS DATE
2021 01:26 PM EST (month, day, year)

Case: 1:21-cv-06771 Document #: 1 Filed: 12/21/21 Page 13 of 14 PagelD #:13

CP Enclosure with EEOC Form 5 (11/09)

Privacy Act STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1. FORM NuMBER/TITLE/DaTE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL Purposes. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the
existence of matters covered by the EEOC statutes (and as applicable, other federal,
state or local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NoT GIVING INFORMATION. Charges
must be reduced to writing and should identify the charging and responding parties
and the actions or policies complained of. Without a written charge, EEOC will
ordinarily not act on the complaint. Charges under Title VII, the ADA or GINA must be
sworn to or affirmed (either by using this form or by presenting a notarized statement
or unsworn declaration under penalty of perjury); charges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. It is
not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its tinal resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or
cooperate in any investigation or lawsuit concerning this charge. Under Section
704(a) of Title Vil, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
207(f) of GINA, it is unlawful for an emmp/oyerto discriminate against present or former
employees or job applicants, for an employment agency to discriminate against
anyone, or for a union to discriminate against its mem ders or membership applicants,
because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an
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investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar
provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or encouraging others in
their exercise or enjoyment of, rights under the Act.
